         Case 3:16-cv-01345-AWT Document 628 Filed 07/25/23 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,

                             Plaintiffs,
                                                 No. 3:16-cv-01345-AWT
 v.

YALE UNIVERSITY et al.,                          Hon. Alvin W. Thompson

                             Defendants.


                                 NOTICE OF APPEAL

      Notice is hereby given that all Plaintiffs in the above-named case hereby appeal

to the United States Court of Appeals for the Second Circuit from the Judgment

entered in this action on July 13, 2023 (ECF No. 622).


July 25, 2023

                                               /s/ Nathan D. Stump
                                               SCHLICHTER BOGARD LLP
Ari J. Hoffman (ct22516)                       Nathan D. Stump (phv206992)
COHEN AND WOLF, P.C.                           Joel D. Rohlf (phv09849)
1115 Broad Street                              Alexander L. Braitberg (phv09929)
Bridgeport, CT 06604                           100 South Fourth Street, Suite 1200
Telephone: (203) 368-0211                      St. Louis, Missouri 63102
Facsimile: (203) 337-5505                      (314) 621-6115
arihoffman@cohenandwolf.com                    (314) 621-5934 (fax)
                                               nstump@uselaws.com
                                               jrohlf@uselaws.com
                                               abraitberg@uselaws.com

                                               Attorneys for Plaintiffs
